2 F.3d 1158
    NOTICE: Ninth Circuit Rule 36-3 provides that dispositions other than opinions or orders designated for publication are not precedential and should not be cited except when relevant under the doctrines of law of the case, res judicata, or collateral estoppel.UNITED STATES of America, Plaintiff-Appellee,v.Tyquan David HAKIM, a/k/a Tyrone Killingsworth, Defendant-Appellant.
    No. 92-50355.
    United States Court of Appeals, Ninth Circuit.
    Submitted June 25, 1993.*Decided July 8, 1993.
    
      Before CANBY, FERNANDEZ and T.G. NELSON, Circuit Judges.
    
    
      1
      MEMORANDUM**
    
    
      2
      Tyquan David Hakim appeals his sixty-month sentence following entry of a guilty plea to conspiracy to commit bank robbery in violation of 18 U.S.C. Secs. 371, 2113(a).
    
    
      3
      Pursuant to Anders v. California, 386 U.S. 738 (1967), Hakim's counsel submitted a brief stating that he finds no meritorious issues for review.  Counsel also filed a motion to withdraw as counsel of record.  Our independent review of the record pursuant to Penson v. Ohio, 488 U.S. 75, 83 (1988), discloses no issues for review.
    
    
      4
      The motion of counsel to withdraw is GRANTED and the sentence is AFFIRMED.
    
    
      
        *
         The panel unanimously finds this case suitable for decision without oral argument.  Fed.R.App.P. 34(a);  9th Cir.R. 34-4
      
      
        **
         This disposition is not appropriate for publication and may not be cited to or by the courts of this circuit except as provided by 9th Cir.R. 36-3
      
    
    